'                      Case 1:23-bk-10618-VK                                                       Doc 1 Filed 05/08/23 Entered 05/08/23 10:54:31                                                                                                            Desc
                                              l                                                    Main Document    Page 1 of 10
                                                                                                                                                                '
                                                                                                                                                                                                         .           .        z


                                                                                                                                                                                       FiL E D
                               ,
                                                       '.                                                                      a                                                                i                    S
            United StatesBankruptcy Cbudforthe:                                                                                                                                   MAï - 8 2223
            CentralDistrictofCél
                               ifornia                                                                     .                                                                  CLERK U.S.BANKROPTCY COURT '
                                                                               (State)                     .                           .                                     CENTRALDISTRICTOF CALIFORNIA
                           ,                                   .                                                                                                              BY:           . 'DeputyClerk
            Casenumber(Ifknownt                                                                                Cha
                                                                                                                 .
                                                                                                                   pterjj                                                                                                                         Q Checkifthisisan
                                   .                                                     .                 '               4   '            '
        '
                           j                                       .                                           .                                                                                                                                    amendedlling
.                                                      l               1
                                                                           l

        .        .                                             >'

        OfficialForm 201
'
        Vr'oluntary Petilion for N on-lndlviduals Filing for B ankruptcy
                               '                                           '
                                                                                                                                        p                                                                .
                                                                                                                                                                                                        .....            ..
                                                                                                                                                                                                                                                                            06/22          .
 .          .. ...                     ....

        Ifmorespaceisnàeded,àttachaseparate' sheettothièform.Onthetopofahyadditionalpages,writethedebtor'snameandthecase
        number(ifknown).Fortnor:inforination,aseparatedocument,InstructionsforBanktuptcyFormsforNon-lndi
                                                                                                     '
                                                                                                       vlduals,isavailable.
                                                                                                                                            .                                               j                        .


                                                                                                                       !
                     Debtor's name                                                      Schultz lnvestm ents 21,Inc.                                                                            .                                                       .                              .
                                                                                                                           i                                            ,i                                                                                                             .
                       !%                                              - ...-- - .                                 '                                                         ',                                                               '                         .
                       .
                                                                                                                                                                                            /
                                                                                                                                                                                            '
                                           .
            2. Al1othernames.debtorused          ' '                                                       -A                                                                     1    '
               in the lgst8 years       1
                                              ', '                                                                     '                            '                                               .
                                                                                                                                                                                                                         '
                                   .
               Includeanyassumed namesI ' , .                                                                  .                                                        '                                                                                                         ..
               trade names,@nd doipg business                                                                                                           -
                     as nam es                             '                                                                                                        N             '         .                                                 '-       ' -                                         u
                                                                                                                                                            .                                   .                                                                        .                     .
                                                               x                             ,                     .                                .



            3. Debtor':federalEmployer                                                  8 4                .
                                                                                                           4 6 V5 2 5 4 3
                     Identificatisn Number(EIN)                                         - - -- - - - - - -                                                                                                                                                                  '                      '
                                                       f                       K                                                       'U                                                                                                                '
                                                           t                                                                                                        r

            k. Debtor's address                                                         Princip
                                                                                              'alplaceofbusiness                                                                        Mailinjaddress,i
                                                                                                                                                                                                       fdifferentfrom principalplaP
                                                                                                                                                                                                                                  ce
                                                                                                                                                                                        ofbusirios'
                                                                                                                                                                                                  s                                                                          ' '
                                                                                         8414 ColumbusW ay Unit9                                                                        '1702 Hi
                                                                                                                                                                                               ghclere W Ay
                                                                                         Number            Street                  x            '                                       Number                       -street '                                              '
                                                                                                                                                                                                                                                                             X.

                                                                                                                                                        )
                                                                                                                                                                                        P o Box                                                   '         )
                                                                                   ',
                                                                                        YD   r A-t(tts'-'StcatAe ZI9P1Cod
                                                                                                                      343                                                                                            f'           r                     CA             93311
                                                                                         City                            e                                                              Ci
                                                                                                                                                                                         ty                                                   1        State . /? ZlPçode .
                                                                                                                                                                                            .

                                                                                                                                                                                        Loçqtion ofprincipalassets,Ifdi
                                                                                                                                                                                                                      fferentfrom
                                                                                                                                                                                        princigalplaceofbusiness                                             y                    '
                                                                                        Los Angeles                                                                                     8414 Columbus W ay Uqit9 '                                                                         v
                                                                                         COURtx                1                                    s
                                                                                                                                                                             h'         '
                                                                                                                                                                                        Number                       Streé'
                                                                                                                                                                                                                          t                                       -
                                                                                                                                                                                                                                                                  -'                           -
                                                                                                                                                                                                                                                   ,


                                                                                                                                                                                                                                                                  /'
                                                                                                                                                                                                                                          ,

                                                                                                                                                                                        .                                         .
                                                                                                                                                                                                                                      .
                                                                                                                                                                                            NorthHill
                                                                                                                                                                                                    s                                                    CA ..é1343
                                                                                                                                                                                           city                 '7                                     State           ZIP Codq


    '

             5. Debtpr'swebsite(URLI'                                                                                                                                                                                                                            '       '
                                                  ''                                                                                                                              ..                      ..
                                                                               .                    ....




    .
            OfficialForm 201                                                                     Voluntal Peti
                                                                                                             ti
                                                                                                              onfqrNon-lndividualsFilingforéan'kruptcy                                                                                                          Page 1
         Case 1:23-bk-10618-VK                                     Doc 1 Filed 05/08/23 Entered 05/08/23 10:54:31                                                                                                                                                                                                                                              Desc
                                                                   Main Document    Page 2 of 10
                                                                                                                                                                                                                                                                                                                                       4
Debtor     Schul
               t Investm ents21,Inc..                                                                                                                                                                       casenumber(
                                                                                                                                                                                                                      /
                                                                                                                                                                                                                      raok
                                                                                                                                                                                                                         vn)
           Name


 6.' Type ofdebtor                       u corporati
                                                   on(i
                                                      ncludi
                                                           ngLimitedLi
                                                                     abi
                                                                       li
                                                                        tyCompany(LLC)andLi
                                                                                          mitedLiabili
                                                                                                     tyPadnership(LLP))
                                         Q Padnership(excl
                                                         uding LLP)
                                         Q other.speci
                                                     fy:
                                         A.Checkone:
    Describe debtor's business
                                         Q          HealthCareBusiness(a>detinedin11U.S.C.j101(27A))
                                         Q          Si
                                                     ngl eAssetRealEstate(asdefinedin11U.S.C.j101(51B))
                                         Q          Railroad(asdefinedin11U.S.C,b101(44))
                                         Q          Stockbroker(asdefinedin11U.S.C.9101(53A))
                                         u          commodi  tyBroker(asdefinedi
                                                                               n1'1U.S.C.j101(6))
                                         Q          clearingBank(asdefinedin11U.S.C.â781(3))
                                         H          Noneoftheabove


                                          Q Tax-exemptenti
                                                         ty(asdescribedin26U.s.c.j501)
                                          u Investmentcompany,includinghedgefundorpooledinvestmentvehi
                                                                                                     cle(asdefinedi
                                                                                                                  n15U.S.C.
                                            j80a-3)
                                          Q Investmentadvi
                                                         sor(asdefinedin15U.s.c.j8oy2(a)(11))
                                    (rk
                                      Et'
                                        ''
                                         '!!
                                           1.
                                           .1.
                                             .,'
                                               ':'
                                               .
                                               . t''
                                                   .':t't.
                                                         ''.
                                                           7'
                                                            !'-
                                                              :t
                                                               ').
                                                                 'l
                                                                  )k
                                                                  .'.
                                                                    .a
                                                                    i'.
                                                                      !')'y
                                                                      '   g
                                                                          j
                                                                          -'
                                                                           t'
                                                                           .7'
                                                                             ;'
                                                                              :$
                                                                              .;k
                                                                                -7
                                                                                 E'
                                                                                  Lk
                                                                                   ;.
                                                                                   .-j
                                                                                     -.
                                                                                      j
                                                                                      --h
                                                                                        ?p
                                                                                         #!
                                                                                          't
                                                                                          x')
                                                                                            -!
                                                                                             ,>
                                                                                              -. ..
                                                                                               ---,.
                                                                                                   -.
                                                                                                    -.
                                                                                                     -.
                                                                                                      -.
                                                                                                       -r
                                                                                                        ---.
                                                                                                           -. .-.
                                                                                                            .,-   k.
                                                                                                                -..')
                                                                                                                    -:
                                                                                                                     -L
                                                                                                                      -à
                                                                                                                       -:
                                                                                                                        .
                                                                                                                        -)
                                                                                                                         5'
                                                                                                                         .y
                                                                                                                          ;.
                                                                                                                           é-'
                                                                                                                           -ij;:
                                                                                                                             k
                                                                                                                             - .
                                                                                                                               q;
                                                                                                                                (--
                                                                                                                                  (
                                                                                                                                  :;
                                                                                                                                  k(:
                                                                                                                                    âE
                                                                                                                                     :-
                                                                                                                                      (
                                                                                                                                      ):
                                                                                                                                      ïT:.
                                                                                                                                         y.
                                                                                                                                         ; (k
                                                                                                                                          ;.:
                                                                                                                                            (.
                                                                                                                                             (
                                                                                                                                             !>
                                                                                                                                             : t.
                                                                                                                                              lï>,.
                                                                                                                                                ) :î
                                                                                                                                                  ;'.
                                                                                                                                                    '.
                                                                                                                                                    ;).
                                                                                                                                                     f)i
                                                                                                                                                      :'.
                                                                                                                                                        !
                                                                                                                                                        ),
                                                                                                                                                        ï-)F;-
                                                                                                                                                          ,.
                                                                                                                                                           p 7k
                                                                                                                                                              Nm .-..-,-
                                                                                                                                                              -:,-     l-
                                                                                                                                                                        ?,
                                                                                                                                                                         L,
                                                                                                                                                                          f-
                                                                                                                                                                           L-
                                                                                                                                                                            j
                                                                                                                                                                            .,
                                                                                                                                                                             (-
                                                                                                                                                                              j-
                                                                                                                                                                               R..Y
                                                                                                                                                                                -u:j
                                                                                                                                                                                  à
                                                                                                                                                                                  ./-
                                                                                                                                                                                    l--
                                                                                                                                                                                      $k
                                                                                                                                                                                       >.
                                                                                                                                                                                        )E
                                                                                                                                                                                        ,t.
                                                                                                                                                                                          '
                                                                                                                                                                                          t.
                                                                                                                                                                                          k'-
                                                                                                                                                                                           ,::
                                                                                                                                                                                            @
                                                                                                                                                                                            iè)
                                                                                                                                                                                             . èt
                                                                                                                                                                                              .t't
                                                                                                                                                                                                 '-.
                                                                                                                                                                                                   'ki
                                                                                                                                                                                                     T:.L;
                                                                                                                                                                                                         *.t'
                                                                                                                                                                                                            j?k'
                                                                                                                                                                                                               l.:q
                                                                                                                                                                                                                  l-'tECh-y-,(.,)
                                                                                                                                                                                                                                'j.
                                                                                                                                                                                                                                  (,j.
                                                                                                                                                                                                                                     j:
                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                     .j-
                                                                                                                                                                                                                                      ,j
                                                                                                                                                                                                                                       (>
                                                                                                                                                                                                                                       ,rt
                                                                                                                                                                                                                                        ë!?
                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                          t?
                                                                                                                                                                                                                                           sb
                                                                                                                                                                                                                                            -:
                                                                                                                                                                                                                                            s.
                                                                                                                                                                                                                                             i?
                                                                                                                                                                                                                                              .:
                                                                                                                                                                                                                                              -.
                                                                                                                                                                                                                                               k?
                                                                                                                                                                                                                                                i)
                                                                                                                                                                                                                                                -k)
                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                  é?
                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                   ir
                                                                                                                                                                                                                                                   . g
                                                                                                                                                                                                                                                     t;
                                                                                                                                                                                                                                                    k-
                                                                                                                                                                                                                                                     .'
                                                                                                                                                                                                                                                      j.
                                                                                                                                                                                                                                                       )-
                                                                                                                                                                                                                                                        'g
                                                                                                                                                                                                                                                         r-
                                                                                                                                                                                                                                                          j
                                                                                                                                                                                                                                                          'r
                                                                                                                                                                                                                                                           7
                                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                                           j,
                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                            '
                                                                                                                                                                                                                                                            j-
                                                                                                                                                                                                                                                             y-
                                                                                                                                                                                                                                                              j-
                                                                                                                                                                                                                                                               1-
                                                                                                                                                                                                                                                                j
                                                                                                                                                                                                                                                                (k
                                                                                                                                                                                                                                                                 E
                                                                                                                                                                                                                                                                 (.
                                                                                                                                                                                                                                                                  1.
                                                                                                                                                                                                                                                                   g
                                                                                                                                                                                                                                                                   f-
                                                                                                                                                                                                                                                                   (:
                                                                                                                                                                                                                                                                    j-
                                                                                                                                                                                                                                                                    E(.
                                                                                                                                                                                                                                                                      t.
                                                                                                                                                                                                                                                                       (
                                                                                                                                                                                                                                                                       .,
                                                                                                                                                                                                                                                                       ;!
                                                                                                                                                                                                                                                                        1,
                                                                                                                                                                                                                                                                         j
                                                                                                                                                                                                                                                                         :-
                                                                                                                                                                                                                                                                          j-
                                                                                                                                                                                                                                                                           j
                                                                                                                                                                                                                                                                           ..
                                                                                                                                                                                                                                                                            j.
                                                                                                                                                                                                                                                                             !
                                                                                                                                                                                                                                                                             '.
                                                                                                                                                                                                                                                                              (
                                                                                                                                                                                                                                                                              :ë
                                                                                                                                                                                                                                                                               ',
                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                '-
                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                -';
                                                                                                                                                                                                                                                                                  'j
                                                                                                                                                                                                                                                                                   '.
                                                                                                                                                                                                                                                                                    cE
                                                                                                                                                                                                                                                                                     ''-
                                                                                                                                                                                                                                                                                       (
                                                                                                                                                                                                                                                                                       '.
                                                                                                                                                                                                                                                                                        T-
                                                                                                                                                                                                                                                                                         '!î
                                                                                                                                                                                                                                                                                           'i
                                                                                                                                                                                                                                                                                            '
                                                                                                                                                                                                                                                                                            J@
                                                                                                                                                                                                                                                                                             ':
                                                                                                                                                                                                                                                                                              '.
                                                                                                                                                                                                                                                                                               '
                                                                                                                                                                                                                                                                                               ç.
                                                                                                                                                                                                                                                                                                '.'E
                                                                                                                                                                                                                                                                                                ,  'u
                                                                                                                                                                                                                                                                                                    ''.
                                                                                                                                                                                                                                                                                                      '-
                                                                                                                                                                                                                                                                                                      -ï.
                                                                                                                                                                                                                                                                                                        :z
                                                                                                                                                                                                                                                                                                        ,h;
                                                                                                                                                                                                                                                                                                          t
                                                                                                                                                                                                                                                                                                          !',
                                                                                                                                                                                                                                                                                                            )7x
                                                                                                                                                                                                                                                                                                              1.j/
                                                                                                                                                                                                                                                                                                                 .,
                                                                                                                                                                                                                                                                                                                  j
                                                                                                                                                                                                                                                                                                                  .$
                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                   ;;-
                                                                                                                                                                                                                                                                                                                     '-
                                                                                                                                                                                                                                                                                                                      g
                                                                                                                                                                                                                                                                                                                      .-
                                                                                                                                                                                                                                                                                                                       j.
                                                                                                                                                                                                                                                                                                                        ..
                                                                                                                                                                                                                                                                                                                         j.
                                                                                                                                                                                                                                                                                                                          .-
                                                                                                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                                                                                                           y.
                                                                                                                                                                                                                                                                                                                            .-
                                                                                                                                                                                                                                                                                                                             h
                                                                                                                                                                                                                                                                                                                             t-
                                                                                                                                                                                                                                                                                                                              g.
                                                                                                                                                                                                                                                                                                                               !.
                                                                                                                                                                                                                                                                                                                                7
                                                                                                                                                                                                                                                                                                                                !.
                                                                                                                                                                                                                                                                                                                                 '
                                                                                                                                                                                                                                                                                                                                 !,
                                                                                                                                                                                                                                                                                                                                  '
                                                                                                                                                                                                                                                                                                                                  qq
                                                                                                                                                                                                                                                                                                                                   ;:
                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                    '..
                                                                                                                                                                                                                                                                                                                                      !,
                                                                                                                                                                                                                                                                                                                                       '-
                                                                                                                                                                                                                                                                                                                                       .k'-
                                                                                                                                                                                                                                                                                                                                          '.
                                                                                                                                                                                                                                                                                                                                          .è.
                                                                                                                                                                                                                                                                                                                                            'z
                                                                                                                                                                                                                                                                                                                                            ;:-
                                                                                                                                                                                                                                                                                                                                              E
                                                                                                                                                                                                                                                                                                                                              >.
                                                                                                                                                                                                                                                                                                                                               '.
                                                                                                                                                                                                                                                                                                                                                '-
                                                                                                                                                                                                                                                                                                                                                 '.1.
                                                                                                                                                                                                                                                                                                                                                  r-
                                                                                                                                                                                                                                                                                                                                                   .!.
                                                                                                                                                                                                                                                                                                                                                     !$
                                                                                                                                                                                                                                                                                                                                                     :;k
                                                                                                                                                                                                                                                                                                                                                       .ï
                                                                                                                                                                                                                                                                                                                                                        7k
                                                                                                                                                                                                                                                                                                                                                         .z
                                                                                                                                                                                                                                                                                                                                                          D
                                                                                                                                                                                                                                                                                                                                                          . ..Xq--
                                                                                                                                                                                                                                                                                                                                                          a      ï,
                                                                                                                                                                                                                                                                                                                                                                  j.-
                                                                                                                                                                                                                                                                                                                                                                    &-.
                                                                                                                                                                                                                                                                                                                                                                      .-
                                                                                                                                                                                                                                                                                                                                                                      -.--.
                                                                                                                                                                                                                                                                                                                                                                          ),
                                                                                                                                                                                                                                                                                                                                                                          -y
                                                                                                                                                                                                                                                                                                                                                                           r
                                                                                                                                                                                                                                                                                                                                                                           .-
                                                                                                                                                                                                                                                                                                                                                                            '
                                                                                                                                                                                                                                                                                                                                                                            j-
                                                                                                                                                                                                                                                                                                                                                                             L
                                                                                                                                                                                                                                                                                                                                                                             ';
                                                                                                                                                                                                                                                                                                                                                                             .L
                                                                                                                                                                                                                                                                                                                                                                              <
                                                                                                                                                                                                                                                                                                                                                                              ',
                                                                                                                                                                                                                                                                                                                                                                               L
                                                                                                                                                                                                                                                                                                                                                                               j,
                                                                                                                                                                                                                                                                                                                                                                                @ï
                                                                                                                                                                                                                                                                                                                                                                                .(--
                                                                                                                                                                                                                                                                                                                                                                                 k Jtr
                                                                                                                                                                                                                                                                                                                                                                                   t ((
                                                                                                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                                                                                     -p(
                                                                                                                                                                                                                                                                                                                                                                                       q
                                                                                                                                                                                                                                                                                                                                                                                       sq
                                                                                                                                                                                                                                                                                                                                                                                       -
                                                                                                                                                                                                                                                                                                                                                                                       Ej
                                                                                                                                                                                                                                                                                                                                                                                        )â
                                                                                                                                                                                                                                                                                                                                                                                         ,.
                                                                                                                                                                                                                                                                                                                                                                                          -!
                                                                                                                                                                                                                                                                                                                                                                                           (
                                                                                                                                                                                                                                                                                                                                                                                           t1;;q
                                                                                                                                                                                                                                                                                                                                                                                            L, (
                                                                                                                                                                                                                                                                                                                                                                                               ;1
                                                                                                                                                                                                                                                                                                                                                                                                E1
                                                                                                                                                                                                                                                                                                                                                                                                 i1
                                                                                                                                                                                                                                                                                                                                                                                                  .)
                                                                                                                                                                                                                                                                                                                                                                                                  :!
                                                                                                                                                                                                                                                                                                                                                                                                   :)
                                                                                                                                                                                                                                                                                                                                                                                                   lk-M,è
                                                                                                                                                                                                                                                                                                                                                                                                        (>
                                                                                                                                                                                                                                                                                                                                                                                                         ,A
                                                                                                                                                                                                                                                                                                                                                                                                          ;;W
                                                                                                                                                                                                                                                                                                                                                                                                         :.           Aj
                                                                                                                                                                                                                                                                                                                                                                                                            y-:---!:t:. ,.--'-
                                                                                                                                                                                                                                                                                                                                                                                                                      -tt    j.,
                                                                                                                                                                                                                                                                                                                                                                                                                               '.
                                                                                                                                                                                                                                                                                                                                                                                                                                E.
                                                                                                                                                                                                                                                                                                                                                                                                                                 '
                                                                                                                                                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                                                                                                                                                 h.
                                                                                                                                                                                                                                                                                                                                                                                                                                  '.
                                                                                                                                                                                                                                                                                                                                                                                                                                   '.
                                                                                                                                                                                                                                                                                                                                                                                                                                    '
                                                                                                                                                                                                                                                                                                                                                                                                                                    j
                                         C.NAICS(NorthAmeri
                                                          canlndustryClassi
                                                                          fl
                                                                           cati
                                                                              onSystem)4-di
                                                                                          gi
                                                                                           tcodethatbestdescri
                                                                                                             besdebtor.See
                                                       httn.
                                                           .//                             .uscouds.nov/four-d'
                                                                                                              ln'
                                                                                                                lt-nat-
                                                                                                                      lonal-assoc-
                                                                                                                                 lat'
                                                                                                                                    lon-na-
                                                                                                                                          lcs-codes .
                                                   531000
 8. Underwhich chapterofthe               Checkone:
    Bankruptcy Code is the                Q Chapter7
    debtorfiling?
                                          Q Chapter9
                                          Z chapter11.Checkallthatappy
    A debtorwhoisaYmalbusi   ness                     Q Thedebtorisasmal   lbusi
                                                                               nessdebtorasdefnedin11U.S.C.j101(51D),andits
    debtor''mustcheckthefi
                         rstsub-
    box.A debtorasdefined in                             aggregatenoncontingentli
                                                                                qui
                                                                                  dateddebts(excludingdebtsowedtoinsidersor
    j1182(1)whoel ectstoproceed                          affili
                                                              ates)areI
                                                                      essthan$3,024,
                                                                                   725.Ifthi
                                                                                           ssub-boxisselected,attachthemost
    undersubchapterV ofchapter11                                                                             recentbal
                                                                                                                     ance sheet,statementofoperations,cash-flow statement,andfederal
                                                                                                             incometax return orifanyofthesedocum entsdonotexist,follow theprocedure in
    (whetherornotthedebtorisa
    usmallbusinessdebtor''
                         )must                                                                    11U.S.C.j1116(1)(B).
    checkthesecondsub-box.                                                                      Q Thedebtori sadebtorasdefinedi n11U.S.C.j1182(1),i
                                                                                                                                                  tsaggregate
                                                                                                  noncontingentI
                                                                                                               iquidateddebts(excludi
                                                                                                                                    ngdebtsowedtoinsi
                                                                                                                                                    dersoraffi
                                                                                                                                                             liates)are
                                                                                                             I
                                                                                                             essthan$7,500!
                                                                                                                          000,and i
                                                                                                                                  tchooses to proceed underSubchapterV of
                                                                                                             Chapter11.Ifthl
                                                                                                                           ssub-boxi  ssel ected,attachthe mostrecentbalancesheet,
                                                                                                             statementofoperations,cash-flow statem ent,andfederalincometaxreturn,orif
                                                                                                             anyofthese documentsdonotexist,foll  ow theprocedurein 11U. S.C.
                                                                                                             ! 1116(1)(B).
                                                                                                Q A planisbeingt
                                                                                                               iledwi
                                                                                                                    ththispeti
                                                                                                                             tion.
                                                                                                Q Acceptancesoftheplanweresolicitedprepetiti
                                                                                                                                           onfrom oneormoreclassesof
                                                                                                             credi
                                                                                                                 tors,i
                                                                                                                      naccordancewi
                                                                                                                                  th1'
                                                                                                                                     !U.S.C.51126(b).
                                                                                                Q Thedebtorisrequiredtofileperiodicrepods(forexample,10Kand10Q)wi    ththe
                                                                                                  SecuritiesandExchangeCommi   ssionaccordingto513or15(d)oftheSecuri    ties
                                                                                                  ExchangeActof1934.Fi letheAttachmentto Voluntary PetitionforNon-lndividualsFil
                                                                                                                                                                               ing
                                                                                                  forBankruptcyunderChapter11(Offi  cialForm 201A)wi ththisform.           '
                                                                                                Q Thedebtori sashelcompanyasdefinedi    ntheSecuritiesExchangeActof1934Rul    e
                                                                                                              12b-2.




 Offici
      alForm 201                                       Volunt
                                                            ary PetitionforNon-lndivi
                                                                                    dualsFi
                                                                                          lingforBankrupt
                                                                                                        cy                                                                                                                                                                                                                                                     Page2
         Case 1:23-bk-10618-VK              Doc 1 Filed 05/08/23 Entered 05/08/23 10:54:31                                             Desc
                                            Main Document    Page 3 of 10

Debtor      Schultz Investm ents21,Inc.                                                   casenumberç
                                                                                                    œknownt
           Name                                                                                                 .


 9. W ere priorbankruptcy cases H No
    filedbyoragainsttiedebtor Q
    within the Iast8 years?            Yes. Distri
                                                 ct                                    When                  casenumber
                                                                                              MM I DD /m m
    Ifmorethan2 cases,attacha
    separateIist.                                District                              When MM IDD188m       Case number


 1a.Are any bankruptcy cases         2 No
    pending orbeingfiledbya          Q
    business partneroran               Yes. Debtor                                                           Rel
                                                                                                               ationship
    affiliate ofthe debtor?                 oistrict                                                         When
                                                                                                                           MM / DD /YYYY


 11.W hy is the case filed in this   CheckalIthatapply:
    districn                         1 Debtorhashadi
                                                   tsdomicil
                                                           e,principalplaceofbusiness,orprincipalassetsinthisdistrictfor180 days
                                        immedi  atelyprecedingthedatenfthi
                                                                         speti
                                                                             ti
                                                                              onorforaIongerp4rtofsuch 180daysthani
                                                                                                                  n anyother
                                        district.
                                     Q A bankruqtcycaseconcerningdebtor'saffi
                                                                            liate,generalqartner,orpadnershipi
                                                                                                             se ndingi
                                                                                                                     nthisdi
                                                                                                                           stri
                                                                                                                              ct.

 12.Doesthedebtorownorhave D No
    POSSeSSiOnOfanyreal              , yesAnswerbelowforeachpropertythatneedsimmediateattention.Attachadditionalsheetsifneeded.
                                            .
    propedy orpersonalproperty
    thatneeds imm ediate                        whydoesthe property need immediateattention? Lchecka/ptflatapply.)
    attention?
                                                Q Itposesori
                                                           sal
                                                             legedtoposeathreatofi
                                                                                 mminentandi
                                                                                           denti
                                                                                               fi
                                                                                                ablehazardtopubl
                                                                                                               icheal
                                                                                                                    thorsafety.
                                                   w hatisthehazard?
                                                Q ltneedstobephysi  call
                                                                       ysecuredorprotectedfrom theweathèr.
                                                Q ltincludesperishablegoodsorassetsthatcouldquicklydeteriorateorI
                                                                                                                osevaluewi thout
                                                  attention(forexample,li
                                                                        vestock,seasonalgoods,meat,dairy,produce,orsecuri
                                                                                                                        ties-related
                                                  assetsorotheropti ons).
                                                Z OtherTFUStDeed Sale Date

                                                Wh                        8414 Caolum busW ay Unii
                                                                                                 t9
                                                   ere Isthe property?
                                                                          Number          Stree!

                                                                          Nodh Hills                                        ca              91343
                                                                          City                                             State ZIP Code

                                                Isthe property insured?
                                                2 No
                                                Q Yes.Insuranceagency
                                                            Contactname

                                                            Phone



           Stalistioaland adm inistralive information
                                  4                                                .                                                                .-




  OffcialForm 201                       Vol
                                          untaryPetitionforNon-lndi
                                                                  vidualsFil
                                                                           ingforBankruptcy                                            Pago3
         Case 1:23-bk-10618-VK            Doc 1 Filed 05/08/23 Entered 05/08/23 10:54:31                                       Desc
                                          Main Document    Page 4 of 10

Debtor
           Schul
               o Investm ents21,Inc.                                                  casenumberfnnownt
           Name



 13.Debtor's estimation of         Checkone:
    available funds                Q Fundswilbeavail
                                                   abl
                                                     efordistri
                                                              buti
                                                                 ontounsecuredcredi
                                                                                  tors.
                                   Z Afteranyadministrati
                                                        veexpensesarepaid,nofundswillbeavailablefordi
                                                                                                    stributiontounsecuredcredi
                                                                                                                             tors.

                                   Z   1-49                        Q .1,000-5,000                            Q 25,001-50,000
 14.Estimated numberof             u   stl.x                       u sjcoj-lcj coo                           u sc,
                                                                                                                 x j-looj
                                                                                                                        cx
    creditors                      Q   100-199                     Q 10,001-25,000                           Q Morethan100,000
                                   Q   200-999

 15.Estimatedassets                u $sc#ccj-sjccyccc              Q $1o,coc,o01-$s0milli
                                                                                        on                   Q $1,
                                                                                                                 000,000,001-$10billi
                                                                                                                                    on
                                   Q $100,001-$500,000             Q $50,000,001-$100million                 Q $10,000,000,001-$50bill
                                                                                                                                     ion
                                   Z $500,001-$1mi llion           Q $100,000,001-$500million                Q Morethan$50bilion

                                   I
                                   Q $0-$50,000                    U1$1,000,001-$10mi
                                                                                    lli
                                                                                      on                     D $500,000,001-$1bill
                                                                                                                                 ion
 16.EstimatedIiabilities           ra $so#ccjojccjccc              ra sjcyccc,cc-jasc mi
                                                                                       jli
                                                                                         on                  C1 $1,000,000,001-$10 bilion
                                   U-1$100,001-$500,000            C1$50,000,001-$100million                 1
                                                                                                             -1$10,000,000,001-$50billi on
                                   Z $500,001-$1milion             7-1$100,000,001-$500mi
                                                                                        lli
                                                                                          on                 V1Morethan$50bill
                                                                                                                             ion


           RequestforRelief,Deolarationland Signatures

 WARNING - Bankruptcyfraudisaseri
                                ouscrime. Makingafal
                                                   sestatementi
                                                              nconnectionwithabankruptcycasecan resul
                                                                                                    tinfinesupto
              $500,000orimpri
                            sonmentforupto20years,orboth.18U.S.C.jj152,1341,1519,and3571.

 17.Declaration and signature of       The debtorrequestsreli
                                                            efinaccordancewi
                                                                           ththechapterofti
                                                                                          tl
                                                                                           e 11,United States Code,speci
                                                                                                                       fi
                                                                                                                        edinthis
    authorized representative of       petition.
    debtor
                                       Ihavebeenauthori
                                                      zed tofi
                                                             lethispetition on behalfofthedebtor.

                                       Ihaveexami
                                                nedthe informati
                                                               oninthispeti
                                                                          tionandhavea reasonablebeliefthattheinformati
                                                                                                                      onistrueand
                                       correct.

                                   ldeclareunderpenaltyofpeturythattheforegoingi
                                                                               strueandcorreot.
                                       Exec e on      05/08/2023
                                                     M lDD      YYY
                                                                                               Dinorah L Cordova
                                       Signature ofauthorizedrepresentativeofdebtor            Printedname
                                       Tîtle Vice-president,Secretary




  Offi
     cialForm 201                      VoluntaryPeti
                                                   ti
                                                    onforNon-lndivi
                                                                  dualsFilingforBankruptcy                                     Page4
         Case 1:23-bk-10618-VK         Doc 1 Filed 05/08/23 Entered 05/08/23 10:54:31                             Desc
                                       Main Document    Page 5 of 10

Débtix                                                                  Case numberfifunownt


 18.Signature ofattorney    x                                                     nate
                                 Signatureofattorneyfordebtor                                  MM   /DD /W'YW'Y



                                Printed name

                                Firm name

                                Number         Street

                                City                                                  State           ZIP Code

                                Contactphone                                           Emailaddress



                                 Barnumber                                             State




 Offi
    cialForm 201                 VoluntaryPetitionforNon-lndi
                                                            vidual
                                                                 sFil
                                                                    ingforBankruptcy                              Page5
        Case 1:23-bk-10618-VK                 Doc 1 Filed 05/08/23 Entered 05/08/23 10:54:31                       Desc
                                              Main Document    Page 6 of 10



  Debtorname < t. .                    ---'
                                     ...                   t:                ,'
  United States Bankruptcy Courtforthe:                   Districtof
                                                                   (State)                                     Q checki
                                                                                                                      fthisisan
  Casenumber(Ifknownl:                                                                                           amended filing



O fficialForm 204
c hapter 54 or C hapter 9 cases:List of Creditors W ho Have the 20 Largest
U nsecured Claim s and A re '
                            N o1 Insiders                                  12/15
A li
   stofcreditors holding the 20Iargestunsecured claimsmustbefi
                                                             led ina Chapter11orChapter9case.Includeclaimsw hi
                                                                                                             chthe debtor
di
 sputes.Donotincludecl
                     aimsbyanypersonorentitywhoisaninsider,asdefinedin11U.S.C.b101431).Also,donoti
                                                                                                 ncludeclaimsby
secured creditors,unlessthe unsecured claim resul
                                                ting from inadequatecollateralvalueplacesthecredi
                                                                                                toram ong the holdersofthe20
largestunsecuredclaim s.




Offi
   cialForm 204            Gllapter11orChapter9 cases:LlstofCreditorsW ho Havethe 20 LargestUnsecured Claims               Page1
         Case 1:23-bk-10618-VK      Doc 1 Filed 05/08/23 Entered 05/08/23 10:54:31                   Desc
                                    Main Document    Page 7 of 10


Debtor      s cho Ht llrxoeckwheet-#.
           Name
                                    sz.tp/t-ks                      Case numberf4knownj




Offici
     alForm 204     Chapter11orChapter9Cases:ListofCreditorsW ho Have the20LargestUnsecured claims          Page2
Case 1:23-bk-10618-VK       Doc 1 Filed 05/08/23 Entered 05/08/23 10:54:31        Desc
                            Main Document    Page 8 of 10


                              M EM BER RESOLUTION
                                       OF
                          SCHULTZ IN VETSM ENTS 21,INC.

W e,theundersignedMemberts)ofSchultzInvetsments21,Inc.,alimitedliabilitycompanyduly
organizedandexistingtmderthelawsofCalifonzia(hereinafterthe''Company'd),withauthority
granted in theOperating Agreementto makebinding resolutionson behalfoftheCompany,hereby
resolve:

SchultzInvestments21,lnc.allowedto fleBankcnlpcy Chapter11on 5-08-2023.

Byaffinuativevotesnotedassignaturesbelow,amajorityvoteoftheM embersofSchultz
Invetsments21,Inc.with authority tobind theCompany approvestheform and contentofthis
resolution,tobeeffectiveimmediately.

     B RS
      //          z


                                                                    5-@ '
                                                                        ,:.1
DinorahL Cordova and Nathan T Schultz                             D ate
M ember


Circle thisL.S.asthere isno company seal.




                               ThisisaRocketLawycncom document.
Case 1:23-bk-10618-VK          Doc 1 Filed 05/08/23 Entered 05/08/23 10:54:31   Desc
                               Main Document    Page 9 of 10




SchultzInvestments21,Inc.


 Secured CreditorsListPage 1




        1.) ColumbusTownPark
           CondominîumsHomeownerAssociation
           c/oSBSLienServices
           31194 La Baya Drive Suite 106
           W estlake Village,Ca.91362


        2.) FazalRahmanandRosie
           GuIRahman,TrusteeofTheRahmanFamilyTrustdated02/14/2017
           7637 GregAvenue
           LosAngeles,Ca.91352



        3.) FazalRahmanandRosie
           GuIRahman,TrusteeofTheRahmanFamilyTrustdated02/14/2017
           7637 Greg Avenue
           LosAngeles,Ca.91352

        4.) GabeW .Kass
            P.O.BOX 6093
            Huntington Beach,Ca.92615


        5.) LucriferousHoldings,LLC.8252
            Note TrustandJackson NoteTrust
            8252 Kingsdale Drive
            Huntington Beach,Ca.92808


        6.) PatrickS.Ince,
            CaliforniaTD Specialists
            8190 EastKaiserBlvd
            Anaheim Hills,Ca.92808
Case 1:23-bk-10618-VK          Doc 1 Filed 05/08/23 Entered 05/08/23 10:54:31   Desc
                               Main Document    Page 10 of 10




 SchultzInvestm ents21,Inc.


 Secured CreditorstistPage 2




        7.) RobertAdrianAngeleriIII
           AndlrisAgeleri,husbandandwifeasJointTenantsas3/22/22
           C/O RedwoodTrustDeedServices,Inc.
            P.Q.BOX 6875
           Santa Rosa,Ca.95406-0875



        8.) ZipporaWilliamsBochneramarriedwomansoleseparateproperty.
            P.O.Box 124
            LosAngeles,Ca.90027
